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              EXHIBIT N
             Dance Informa Article
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            INTERVIEWS


         What I’ve learned from Formula 1 Racers:
         Ballerina Dusty Button




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         By Allison Gupton of Dance Informa.



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         She’s not just her multiple pirouettes. She’s not just
         her gorgeous lines. Dusty Button, principal dancer
         for Boston Ballet, is so much more. She is a
         choreographer, dance fashion line designer, car
         enthusiast, dedicated wife and an inspiration to
         young dancers everywhere.

         Dance Informa was fortunate enough to chat with
         Button about her inspirations, what a day in her life
         looks like and her advice for dancers wanting to
         pursue a career in ballet.

         Tell me a little bit about where you’re from and
         your dance training. What made you want to
         pursue a more ballet-centric career?

         “I am a Southern Bell, having grown up in South
         Carolina, and the training was much slower paced
         than that of London, New York City and Boston, as I
         learned once leaving home at a young age to pursue
         my career. I am very structured and of all genres
         that I studied, ballet seemed to be the one with the
         richest and most structured history. With a
         foundation like that I can only see room for growth.”

         Who were your biggest influences growing up
         and who are your biggest influences now?

         “My mother influenced me as a child as she led by
         example. [She] prepared me for the life that I live
         today. My biggest influence today is my husband. He
         is the foundation of which I wish to build an empire
         on and nothing inspires me more to push harder,
         jump higher and live better than being married to
         such a brilliant man. All of the success in the world
         will have no value without someone to share it with,
         but sharing it with someone gives it the value it
         deserves.”

                                                               What’s a
                                                               typical day


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                                                               like in the
                                                               life of Dusty
                                                               Button?

                                                   “A day in my
                                                   life is the
         Dusty Button, principal dancer at Boston
                                                   polar
         Ballet. Photo by Mitchell Button.
                                                   opposite of
         any other ballerina. My husband and I wake up and
         listen to music while we cook breakfast together just
         before I have class. We hit Starbucks and he drops
         me at Boston Ballet, where I warm up to Lil’ Wayne
         and get my mind right to conquer the day. At mid-
         day we meet for lunch around the city before I return
         to rehearsals. Once rehearsals are over we hit the
         gym for weight training then home to work on our
         Ferrari and Ducati’s, play Call of Duty, watch movies
         or go for a cruise.

         I like to dance when I am working but I like to
         experience all other dimensions of this world when I
         am not. A well-rounded dancer is good, but an
         educated human being is great.”

         I see from your magnanimous social media
         presence that you are on faculty at some dance
         competitions/conventions. How is teaching at
         these conventions challenging? Do you see
         some resistance to ballet from competition
         dancers, or is that sentiment in the past?

         “I believe that the hurdles standing between the start
         and finish lines of our goals are often mental rather
         than physical. A great teacher can break through
         and inspire any student, so the part that I find most
         challenging, yet ironically most rewarding, is that all
         students absorb knowledge in different ways… as a
         teacher it is my job to clear that hurdle.




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         Like most genres, there are dancers who are less
         adaptive to ballet, but I enjoy the challenge of
         maturing other artists’ palettes.”

         What has
         been your
         favorite
         role? What
         is your
         dream role?

         “I learn a
                          Boston Ballet Principal Ballerina Dusty
         little more
                          Button. Photo by Mitchell Button.
         about myself
         with each role that I perform, and because of that, I
         love them all. But if I were to choose one that I felt
         most connected to, it would be The Sugar Plum
         Fairy.

         I have performed most of the roles that I dreamt
         about as a child, but my perpetual dream roles are
         those contemporary works that are created on me
         for a world premiere.”

         Where do you see yourself 10 years from now?

         “I feel that if we put a roof on our goals we may wind
         up being trapped under it, so for that reason I try not
         to place any limitations on the possibilities that may
         lay in my path. However, I am certain of some of the
         things that I will be working toward in that time. I
         would like to share my vision with others in the form
         of choreography on various companies and possibly
         within the realms of film or television. I like that my
         vision is blurry when looking into my future because
         the one thing that I can count on always being there
         is my husband. He is always by my side.”

         What is some of your advice for young dancers
         wanting to pursue a career in ballet?




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         “As dancers, at times we can often forget that the
         world we live in does not revolve around the dance
         industry and we would be mistaken to not learn from
         any industry that someone believes in enough to
         dedicate their life to. I have learned more about
         dedication, hard work and the path to success from
         Formula 1 & Moto-GP racers than I have from
         dancers. So my advice is to keep your eyes open,
         absorb all knowledge and never forget that you can
         learn from the good and the bad. Never give less
         than your all because anything worth doing is worth
         doing right.”

         Follow Dusty Button on Instagram @dusty_button,
         and learn more at www.worldofdusty.com.

         Photo (top): Boston Ballet Principal Dusty Button in
         front of her and her husband’s Ferrari. Photo by
         Mitchell Button.



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